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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     Salman Ejaz
Re:                                                     Case No.: 18−32477                                          ENTERED
                                                                                                                    06/25/2018
       Debtor
                                                        Chapter: 7




                                              ORDER OF DISMISSAL

       Appropriate notice having been given that the case would be dismissed without further notice if the debtor
failed to comply with the Deficiency Order issued in this case, and

       The Clerk having informed the court that the debtor has failed to satisfy the deficiency, as set out in the docket
entry for this order

      It is ORDERED that this case is DISMISSED.


Signed and Entered on Docket: 6/25/18
